Case 15-02340        Doc 24     Filed 09/30/15     Entered 09/30/15 10:15:44          Desc         Page 1
                                                  of 4




                           UNITED STATES BANKRUPTCY COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

In re:                                                      Case No. 15 B 02340
         Miguel A Camacho
         Marlene T Camacho
                   Debtor(s)


         CHAPTER 13 STANDING TRUSTEE’S FINAL REPORT AND ACCOUNT

        Marilyn O. Marshall, chapter 13 trustee, submits the following Final Report and Account
of the administration of the estate pursuant to 11 U.S.C. § 1302(b)(1). The trustee declares as
follows:

         1) The case was filed on 01/26/2015.

         2) The plan was confirmed on 05/07/2015.

         3) The plan was modified by order after confirmation pursuant to 11 U.S.C. § 1329 on
NA .

       4) The trustee filed action to remedy default by the debtor in performance under the plan
on 07/08/2015.

         5) The case was Dismissed on 07/30/2015.

         6) Number of months from filing to last payment: 3.

         7) Number of months case was pending: 8.

         8) Total value of assets abandoned by court order: NA .

         9) Total value of assets exempted: NA .

         10) Amount of unsecured claims discharged without payment: $0.00.

         11) All checks distributed by the trustee relating to this case have cleared the bank .




UST Form 101-13-FR-S (9/1/2009)
Case 15-02340             Doc 24         Filed 09/30/15    Entered 09/30/15 10:15:44              Desc         Page 2
                                                          of 4



 Receipts:

           Total paid by or on behalf of the debtor                       $692.30
           Less amount refunded to debtor                                   $0.00

 NET RECEIPTS:                                                                                             $692.30


 Expenses of Administration:

     Attorney’s Fees Paid Through the Plan                                        $664.60
     Court Costs                                                                    $0.00
     Trustee Expenses & Compensation                                               $27.70
     Other                                                                          $0.00
 TOTAL EXPENSES OF ADMINISTRATION:                                                                         $692.30

 Attorney fees paid and disclosed by debtor:                         $500.00


 Scheduled Creditors:
 Creditor                                              Claim         Claim          Claim       Principal      Int.
 Name                                        Class   Scheduled      Asserted       Allowed        Paid         Paid
 Ability Recovery Servi                  Unsecured      1,557.00            NA            NA            0.00       0.00
 Ablty Recvry                            Unsecured      1,640.00            NA            NA            0.00       0.00
 American InfoSource LP as agent for     Unsecured         237.00        180.58        180.58           0.00       0.00
 American InfoSource LP as agent for     Unsecured         416.00        307.91        307.91           0.00       0.00
 Ars /Account Resolution Services        Unsecured         943.00           NA            NA            0.00       0.00
 Atlas Acquisitions LLC                  Unsecured         644.00        960.67        960.67           0.00       0.00
 Cci                                     Unsecured      1,476.00            NA            NA            0.00       0.00
 Cerastes                                Unsecured           0.00        480.00        480.00           0.00       0.00
 Cerastes                                Unsecured           0.00        480.00        480.00           0.00       0.00
 Chicago Acceptance LLC                  Unsecured      5,027.00            NA            NA            0.00       0.00
 City of Chicago Department of Revenue   Unsecured      5,000.00       8,315.86      8,315.86           0.00       0.00
 City of Chicago Parking Tickets         Unsecured      2,500.00            NA            NA            0.00       0.00
 Commonwealth Edison                     Unsecured      1,100.00       2,278.33      2,278.33           0.00       0.00
 Credit Management Lp                    Unsecured         168.00           NA            NA            0.00       0.00
 Educational Credit Management Corp      Unsecured     62,506.00     62,967.95      62,967.95           0.00       0.00
 Enhanced Recovery Corp                  Unsecured         394.00           NA            NA            0.00       0.00
 GFC Lending LLC                         Secured       10,100.00     10,159.23      10,159.23           0.00       0.00
 Grant & Weber Inc                       Unsecured      4,484.00            NA            NA            0.00       0.00
 Harris                                  Unsecured      3,386.00            NA            NA            0.00       0.00
 Illinois Collection Service/ICS         Unsecured         776.00           NA            NA            0.00       0.00
 Illinois Collection Service/ICS         Unsecured         389.00           NA            NA            0.00       0.00
 Illinois Collection Service/ICS         Unsecured         221.00           NA            NA            0.00       0.00
 Med Business Bureau                     Unsecured         608.00           NA            NA            0.00       0.00
 Med Business Bureau                     Unsecured         182.00           NA            NA            0.00       0.00
 National Credit Adjusters               Unsecured      2,179.00            NA            NA            0.00       0.00
 OAC                                     Unsecured          80.00           NA            NA            0.00       0.00
 Osi Collect                             Unsecured         196.00           NA            NA            0.00       0.00
 Peoples Energy Corp                     Unsecured      1,443.00       4,719.45      4,719.45           0.00       0.00
 Resurgent Capital Services              Unsecured           0.00      1,047.00      1,047.00           0.00       0.00
 Slm Financial Corp                      Unsecured           0.00           NA            NA            0.00       0.00
 Stellar Recovery Inc                    Unsecured         372.00           NA            NA            0.00       0.00



UST Form 101-13-FR-S (9/1/2009)
Case 15-02340            Doc 24   Filed 09/30/15    Entered 09/30/15 10:15:44               Desc       Page 3
                                                   of 4



 Scheduled Creditors:
 Creditor                                       Claim        Claim        Claim         Principal       Int.
 Name                                Class    Scheduled     Asserted     Allowed          Paid          Paid
 Ttlfin                           Unsecured      3,569.00           NA             NA           0.00        0.00
 Westwood College of Technology   Unsecured     20,000.00           NA             NA           0.00        0.00


 Summary of Disbursements to Creditors:
                                                              Claim          Principal                 Interest
                                                            Allowed              Paid                     Paid
 Secured Payments:
       Mortgage Ongoing                                      $0.00                  $0.00               $0.00
       Mortgage Arrearage                                    $0.00                  $0.00               $0.00
       Debt Secured by Vehicle                          $10,159.23                  $0.00               $0.00
       All Other Secured                                     $0.00                  $0.00               $0.00
 TOTAL SECURED:                                         $10,159.23                  $0.00               $0.00

 Priority Unsecured Payments:
        Domestic Support Arrearage                            $0.00                 $0.00               $0.00
        Domestic Support Ongoing                              $0.00                 $0.00               $0.00
        All Other Priority                                    $0.00                 $0.00               $0.00
 TOTAL PRIORITY:                                              $0.00                 $0.00               $0.00

 GENERAL UNSECURED PAYMENTS:                            $81,737.75                  $0.00               $0.00


 Disbursements:

          Expenses of Administration                             $692.30
          Disbursements to Creditors                               $0.00

 TOTAL DISBURSEMENTS :                                                                            $692.30




UST Form 101-13-FR-S (9/1/2009)
Case 15-02340        Doc 24      Filed 09/30/15     Entered 09/30/15 10:15:44            Desc      Page 4
                                                   of 4




        12) The trustee certifies that, pursuant to Federal Rule of Bankruptcy Procedure 5009,
the estate has been fully administered, the foregoing summary is true and complete, and all
administrative matters for which the trustee is responsible have been completed . The trustee
requests a final decree be entered that discharges the trustee and grants such other relief as may
be just and proper.

Dated: 09/30/2015                             By:/s/ Marilyn O. Marshall
                                                                     Trustee

STATEMENT: This Unified Form is associated with an open bankruptcy case, therefore, Paperwork Reduction
Act exemption 5 C.F.R. § 1320.4(a)(2) applies.




UST Form 101-13-FR-S (9/1/2009)
